Case 17-41948-drd13   Doc 30    Filed 10/30/17 Entered 10/30/17 16:24:40   Desc Main
                               Document      Page 1 of 8
Case 17-41948-drd13   Doc 30    Filed 10/30/17 Entered 10/30/17 16:24:40   Desc Main
                               Document      Page 2 of 8
Case 17-41948-drd13   Doc 30    Filed 10/30/17 Entered 10/30/17 16:24:40   Desc Main
                               Document      Page 3 of 8
Case 17-41948-drd13   Doc 30    Filed 10/30/17 Entered 10/30/17 16:24:40   Desc Main
                               Document      Page 4 of 8
Case 17-41948-drd13   Doc 30    Filed 10/30/17 Entered 10/30/17 16:24:40   Desc Main
                               Document      Page 5 of 8
Case 17-41948-drd13   Doc 30    Filed 10/30/17 Entered 10/30/17 16:24:40   Desc Main
                               Document      Page 6 of 8
Case 17-41948-drd13   Doc 30    Filed 10/30/17 Entered 10/30/17 16:24:40   Desc Main
                               Document      Page 7 of 8
Case 17-41948-drd13   Doc 30    Filed 10/30/17 Entered 10/30/17 16:24:40   Desc Main
                               Document      Page 8 of 8
